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                                                      U.S. Department of Justice


                                                      United States Attorney
                                                      Eastern District of New York
 RCH/SPN/HDM                                          271 Cadman Plaza East
 F. #2018R01309                                       Brooklyn, New York 11201


                                                      November 1, 2021

 By ECF

 The Honorable Brian M. Cogan
 United States District Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

                Re:     United States v. Matthew Grimes, et al.,
                        Criminal Docket No. 21-371 (BMC) (E.D.N.Y.)

 Dear Judge Cogan:

                The government respectfully submits this letter in response to defendant Matthew
 Grimes’s letter requesting a pre-motion conference regarding Grimes’s planned motion to
 modify his conditions of pretrial release (the “Grimes Letter”). See Dkt. No. 53. For the reasons
 set forth below, Grimes’s motion should be denied to the extent it seeks modifications beyond
 those to which the government has already consented.

                  As Grimes acknowledges, the government has consented to three proposed
 modifications to the conditions of Grimes’s release: (i) a modification of the geographic travel
 restrictions set forth as the first condition in Attachment A to the bond order entered by U.S.
 Magistrate Judge Sanket J. Bulsara on July 26, 2021 (the “Bond Order”), see Dkt. No. 20 at 3,
 that would permit Grimes to travel domestically outside of the Central District of California,
 Eastern District of New York and Southern District of New York with prior approval1 of Pretrial
 Services; (ii) the removal of the curfew restriction set forth as the sixth condition in Attachment
 A to the Bond Order; and (iii) the modification of the seventh condition in Attachment A to
 require Grimes to provide notice to the government of all financial transactions in excess of
 $100,000 (excepting normal and customary payment of attorneys’ fees, and including but not
 limited to any transactions involving publicly held securities of any description) and a continued
 prohibition on all financial transactions involving the United Arab Emirates, the Kingdom of

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                  In the Grimes Letter, defense counsel states that the government has agreed to
 permit Grimes to travel domestically outside the Central District of California, Eastern District of
 New York, and Southern District of New York with prior notice to Pretrial Services. See Dkt.
 No. 53 at 3. This is incorrect. The government consents to such travel with prior approval from
 Pretrial Services, not simply prior notice to Pretrial Services.
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 Saudi Arabia, and the State of Qatar. The government confirms its consent to these proposed
 modifications.

                 In addition, defense counsel requests that the Court remove the GPS monitoring
 condition set forth as the fifth condition to Attachment A of the Bond Order. For the reasons
 stated herein, the government opposes the removal of this condition and respectfully requests
 that the Court deny any motion by Grimes to remove this condition.

    I.      Background

                 On July 16, 2021, a grand jury sitting in the Eastern District of New York
 returned a seven-count indictment (the “Indictment”) charging Grimes and his two
 co-defendants, Thomas J. Barrack and Rashid Sultan Rashid Al Malik Alshahhi (“Al Malik”),
 with: (i) one count of acting as an unregistered agent of a foreign government, in violation of
 Title 18, United States Code, Sections 951(a) and 2; and (ii) one count of conspiracy to act as an
 unregistered agent of a foreign government, in violation of Title 18, United States Code, Section
 371.2

                The Indictment charges that between approximately April 2016 and April 2018,
 Grimes, along with his co-defendants Barrack and Al Malik, acted in the United States as
 unregistered agents of the UAE to influence: (1) the foreign policy positions of the campaign of a
 candidate (the “Candidate”) in the 2016 United States Presidential Election (the “Campaign”);
 (2) the incoming administration of the Candidate once elected in November 2016 (the
 “Administration”); and (3) media coverage and public perception of the UAE and its close ally,
 the Kingdom of Saudi Arabia (“KSA”).
    II.     Prior Proceedings

                 On July 20, 2021, Grimes and Barrack were arrested in the Central District of
 California. At an initial appearance in the U.S. District Court for the Central District of
 California, the government requested that the Court enter an order of detention as to Grimes
 given the risk of flight in this case but acknowledged that a set of conditions likely could be
 fashioned that would sufficiently mitigate that risk and permit Grimes’s release pending trial.
 See Transcript dated July 20, 2021 at 10:24-12:25, attached hereto as Ex. A. In seeking
 Grimes’s immediate release, prior counsel highlighted several of the same considerations
 referenced in the Grimes Letter, including Grimes’s youth, lack of criminal history, discontinued
 access to private aircraft, and prior awareness of the investigation. See id. at 13:17-16:14.
 U.S. Magistrate Judge Patricia Donahue concluded that Grimes “presents a very serious risk of
 flight” and entered an order of detention “based on risk of flight.” Id. 19:3-22, 23:4-7 (“The
 Court finds that the defendant presents a serious risk of flight and orders that he be detained
 pending [a] hearing.”).



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                Barrack is also charged with one count of obstruction of justice, in violation of
 18 U.S.C. § 1512(c)(2), and four counts of material false statements, in violation of 18 U.S.C.
 § 1001(a)(2).


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                  On July 23, 2021, the parties again appeared in the U.S. District Court for the
 Central District of California, where Magistrate Judge Donahue, on consent of the parties,
 entered an order setting the conditions of Grimes’s release, which included: (i) a bond of
 $5,000,000 secured by his parents’ home and three sureties; (ii) supervision by Pretrial Services;
 (iii) the surrender of all passports and travel documents; (iv) prohibition on contact with his
 codefendants (outside the presence of counsel) and officials of the United Arab Emirates and the
 Kingdom of Saudi Arabia or their associates; (v) restriction to travel by road or common air
 carrier; (vi) additional restrictions on travel beyond the Central District of California, Eastern
 District of New York, and Southern District of New York; (vii) application of a GPS monitoring
 bracelet; and (viii) prohibition on international financial transactions and restrictions on domestic
 financial transactions exceeding $10,000. See United States v. Matthew Grimes, 21 MJ 3395
 (C.D.C.A. July 23, 2021), Dkt. No. 13.
                 On July 26, 2021, the parties appeared before Magistrate Judge Bulsara in this
 court for the defendants’ arraignment on the indictment. At the arraignment, Magistrate Judge
 Bulsara, on consent of the parties, entered an order setting the conditions of Grimes’s release that
 were substantially the same as those entered by Magistrate Judge Donahue on July 23, 2021. At
 that proceeding, the government noted that “the Court in the Central District [of California]
 imposed GPS monitoring with respect to both defendants including an ankle bracelet for each
 individual and the parties are recommending that that condition be continued.” Transcript dated
 July 26, 2021 at 11:1-5, attached hereto as Ex. B. Before entering the Bond Order, Magistrate
 Judge Bulsara asked a series of questions of the parties and spoke with the proposed sureties,
 noting his “independent obligation to determine whether or not the conditions are sufficient to
 mitigate against the risk of flight here.” Id. at 13:4-6.
    III.    Applicable Law

                Under the Bail Reform Act, 18 U.S.C. § 3141 et seq., federal courts are
 empowered to order a defendant’s pretrial release subject to the least restrictive combination of
 conditions that such judicial officer determines will reasonably assure the appearance of the
 person as required. 18 U.S.C. § 3142(c). A risk of flight need only be established “by a clear
 preponderance of the evidence, not by the higher standard of clear and convincing evidence.”
 United States v. Motamedi, 767 F.2d 1403, 1406 (9th Cir. 1985); United States v. Eng, 629 F.3d
 311, 319 (2d Cir. 2011) (same); United States v. Jackson, 823 F.2d 4, 5 (2d Cir. 1987) (same).

                The Bail Reform Act lists the following four factors as relevant to the
 determination of whether detention is appropriate: (1) the nature and circumstances of the crimes
 charged; (2) the weight of the evidence against the defendant; (3) the history and characteristics
 of the defendant; and (4) the seriousness of the danger posed by the defendant’s release. See 18
 U.S.C. § 3142(g).

    IV.     Discussion

               In the Grimes Letter, defense counsel requests that the Court remove the GPS
 monitoring condition set forth as the fifth condition to Attachment A of the Bond Order.
 Defense counsel argues that, given Grimes’s personal characteristics, he “does not pose any risk
 whatsoever of nonappearance” in this matter, citing many of the same factors articulated before



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 Magistrate Judge Donahue, including Grimes’s youth, prior cooperation with the Special
 Counsel’s Office,3 ties to the United States, and lack of criminal history.4 Dkt. No. 53 at 4.

                 The government opposes the removal of the GPS monitoring condition. The
 government has consented to reasonable requests for modifications by both Grimes and Barrack,
 see Dkt. No. 48 (noting the government’s consent), but removal of GPS monitoring presents an
 unacceptably high risk of flight for the reasons set forth below. Accordingly, the government
 respectfully requests that the Court deny the request.

                1.      The Seriousness of the Charged Crimes and the
                        Evidence of the Defendant’s Guilt            .

                  Grimes is charged with offenses that are “serious by any measure.” United States
 v. Angwang, 20 CR 442, 2020 WL 5947187, at *2 (E.D.N.Y. Oct. 7, 2020) (concluding that
 defendant charged with acting as an agent of a foreign government should be detained pending
 trial). Grimes is alleged to have conspired with Barrack and Al Malik to use Barrack’s position
 of significant influence as an outside advisor to the Campaign and the Administration and as a
 national media figure with regularly televised interviews on major news networks to further the
 interests of the UAE as directed by senior UAE officials and their intermediaries. Although it is
 undisputed that Grimes’s primary role was to assist Barrack in this endeavor, the evidence
 reflects that this assistance was critical to the success of the illegal scheme. Grimes acted as a
 trusted intermediary between Barrack and Al Malik, often at the direction of UAE government
 officials, relaying requests and directions from Al Malik and UAE government officials to
 Barrack. Grimes also drafted critical strategy documents that proposed how Barrack and Grimes
 could increase the influence of UAE government officials in the United States. In the context of
 the charged offenses, Grimes was hardly a mere assistant; rather, he was a central actor essential
 to the success of the illicit foreign influence campaign.

                Moreover, the evidence of Grimes’s guilt in this case is overwhelming. The
 actions of Grimes and his codefendants during the relevant time period are heavily documented
 and corroborated in thousands of emails, text messages, iCloud records, flight records, social
 media records, photographs, video recordings, and other types of evidence, all of which capture
 their agreement to take direction from UAE government officials and their actions on behalf of


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                    Although the government does not dispute that the defendant met with
 investigators from the Special Counsel’s Office on multiple occasions, it bears noting that the
 Special Counsel’s Office was authorized to investigate links or coordination between the Russian
 government and individuals associated with the campaign of President Trump, an area of inquiry
 that is distinct from the conduct at issue in this case. Moreover, it cannot be disputed that a
 defendant’s incentive to flee from justice increases significantly after learning that he has been
 charged with a crime.
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                  Notably, Magistrate Judge Donahue concluded, even after being apprised of the
 same factors set forth before this Court in the Grimes Letter, that the defendant not only
 presented a risk of flight but a “very serious risk of flight.” Id. 19:3-22.


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 the UAE. The “existence of concrete evidence . . . may weigh against release when it sheds light
 on a defendant’s role in an alleged crime.” Angwang, 2020 WL 5947187, at *3.

                2.       The Potential Period of Incarceration

                 As a result of his conduct, the defendant potentially faces an incarceratory
 sentence of meaningful duration. See United States v. Bruno, 89 F. Supp. 3d 425, 431 (E.D.N.Y.
 2015) (“When the sentence . . . upon conviction is likely to be long . . . a defendant has stronger
 motives to flee.”). There is no section in the United States Sentencing Guidelines that expressly
 applies to violations of 18 U.S.C. § 951. Where “there is not a sufficiently analogous guideline,
 the provisions of 18 U.S.C. § 3553 shall control.” U.S.S.G. § 2X5.1. Courts have repeatedly
 concluded that there is no sufficiently analogous guideline for 18 U.S.C. § 951 and that 18
 U.S.C. § 3553 controls. See, e.g., United States v. Butina, No. 18 CR 218 (D.D.C. May 1, 2019),
 Dkt. No. 124; United States v. Soueid, No. 11 CR 494, (E.D.Va. July 20, 2012) Dkt. No. 59;
 United States v. Chun, No. 16 CR 618 (S.D.N.Y. Oct. 14, 2016), Dkt. No. 17 at 10.

                If Grimes is convicted of the charged offenses and the Court similarly concludes
 that 18 U.S.C. § 3553 controls, the Court will then consider as its starting point under 18 U.S.C.
 § 3553(a)(6) the sentences of “defendants with similar records who have been found guilty of
 similar conduct.” Although sentences for violations of 18 U.S.C. § 951 vary greatly, the
 government highlights some non-exhaustive examples below:

                        In United States v. Alvarez, No. 05 CR 20943 (S.D. Fla.), the defendant
                         pled guilty to conspiring to act as an unregistered agent of Cuba, in
                         violation of 18 U.S.C. §§ 371 and 951. As part of his activities, the
                         defendant gathered information on prominent people, community
                         attitudes, political developments, and current events and passed that
                         information to Cuba. The court sentenced the defendant to 60 months of
                         imprisonment.

                        In United States v. Latchin, No. 04 CR 661 (N.D. Ill.), the defendant was
                         convicted after trial for acting as an unregistered agent of Iraq, in violation
                         of 18 U.S.C. § 951, although there was no evidence that he took any
                         covert action inside the United States. The court sentenced the defendant
                         to 48 months of imprisonment.

                        In United States v. Butina, No. 18 CR 218 (D.D.C.), the defendant pled
                         guilty to conspiring to act as an unregistered agent of Russia, in violation
                         of 18 U.S.C. § 371. The defendant worked to spot and assess politically
                         powerful and well-connected United States citizens on behalf of the
                         Russian government. Based, in part, on her cooperation with the
                         government, the court sentenced the defendant to 18 months of
                         imprisonment.

                        In United States v. Soueid, No. 11 CR 494 (E.D. Va.), the defendant pled
                         guilty to acting as an unregistered agent of Syria, in violation of 18 U.S.C.


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                         § 951. The defendant’s conduct included collecting video and audio
                         recordings of individuals in the United States who were protesting the
                         regime of Bashar al-Assad and providing information on those individuals
                         to the Syrian government. The court sentenced the defendant to 18
                         months of imprisonment.

                        In United States v. Al-Awadi, No. 07 CR 20314 (E.D. Mich.), the
                         defendant pled guilty to acting as an unregistered agent of Iraq, in
                         violation of 18 U.S.C. § 951, as a result of his efforts to report on Iraqi
                         dissidents within the United States for the Iraqi Intelligence Services. The
                         court sentenced the defendant to 18 months of imprisonment.

                        In United States v. Buryakov, No. 15 CR 73 (S.D.N.Y.), the defendant
                         pled guilty to acting as an unregistered agent of Russia, stemming from his
                         agreement to act at the direction of a Russian government official. The
                         court sentenced the defendant to 30 months of imprisonment.

                 Here, while this matter is still in its initial stages, the government notes that even
 the prospect of a meaningful incarceratory sentence supports the determination that the defendant
 poses a risk of flight that cannot be sufficiently mitigated without GPS monitoring.

                3.       The Defendant’s International Travel and Contacts

                 The defendant also poses a significant risk of flight warranting GPS monitoring
 due to his extensive international travel and contacts with extremely powerful foreign
 government officials. As part of his employment for Barrack, Grimes has traveled abroad with
 Barrack extensively, including more than 50 international trips in the past five years, according
 to flight records. On many of these trips, Grimes has traveled to foreign countries that do not
 have extradition treaties with the United States, including, most relevant here, the United Arab
 Emirates and the Kingdom of Saudi Arabia as recently as February 2020 and March 2020. See
 Angwang, 2020 WL 5947187, at *3 (noting defendant’s ties to China, “a country with which the
 United States has no extradition treaty,” in entering permanent order of detention).

                 Indeed, the defendant is charged with acting at the direction or control of such a
 country, the United Arab Emirates to promote its interests and the interests of its close ally, the
 Kingdom of Saudi Arabia. Evidence gathered during this investigation has revealed that the
 defendant has met with senior leaders, including national security officials, of the United Arab
 Emirates and the Kingdom of Saudi Arabia on multiple occasions and that those leaders are
 directly aware of Grimes’s assistance. In fact, in communications with Al Malik, the defendant
 was informed that his “name came up many times” in conversations with the leaders of the UAE,
 who regarded him as their “hero.” Neither the UAE nor the KSA have extradition treaties with
 the United States. If the defendant were to successfully flee to either of these two countries, he
 would potentially have the assistance of their highest leaders, virtually ensuring that the
 defendant would never face justice in the United States. See United States v. Donziger, No. 11
 CV 691 (LAK), 2020 WL 789489, at *2 (S.D.N.Y. Dec. 31, 2020) (denying motion to remove
 pretrial conditions of home confinement and GPS monitoring for defendant charged with a



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 misdemeanor offense based in part on the defendant’s “significant ties” to a foreign country,
 including its “high-ranking government officials”).

                Further, if Grimes were to learn that senior leaders of these countries were
 actively seeking to encourage Grimes’s flight from justice, as they would have every incentive to
 do, the pressure on Grimes to comply with such a demand by such powerful government officials
 would be substantial. Similarly, Grimes could face similar pressure if he came to believe his
 codefendant Barrack was encouraging Grimes to flee. As detailed by defense counsel, Grimes
 has spent his entire career working directly for Barrack, an individual with vast financial
 resources who until recently was the executive chairman of a global investment management
 firm headquartered in Los Angeles with more than $40 billion under management. Bank records
 and telephone records reflect that, prior to his arrest, the defendant listed Barrack’s $15 million
 dollar home in Aspen, Colorado as his primary residence. Further, thousands of emails and text
 message communications obtained during the course of this investigation further confirm that the
 defendant and Barrack have a close, albeit asymmetrical, relationship. The potential for
 numerous powerful and wealthy individuals, including foreign leaders and his codefendant, to
 pressure Grimes to flee significantly increases Grimes’s risk of flight.

                4.      Continuation of GPS Monitoring is Necessary to Mitigate Risk of Flight

                 In light of the significant factors outlined above that increase the risk of flight in
 this case, continuation of GPS monitoring is wholly warranted and appropriate here. GPS
 monitoring will allow Pretrial Services to monitor Grimes’s location and ensure that he is not
 fleeing the district. Further, GPS monitoring will also alert Pretrial Services if Grimes is not
 complying with other conditions of his release, such as traveling outside of the Central District of
 California, Southern District of New York, and Eastern District of New York without the prior
 approval of Pretrial Services or impermissibly associating with his codefendant outside of the
 presence of counsel. See United States v. Paulino, 335 F. Supp. 3d 600, 617-18 (S.D.N.Y. 2018)
 (“[P]retrial monitoring now enables a pretrial officer to track a defendant in real time, on a
 computer or a cell phone, so that the officer can be assured that, for example, when [the
 defendant] says he is going to the hospital, that he is in fact doing so.”).

                 Although defense counsel argues that Grimes should be subject only to the
 “usual” conditions of pretrial release, the imposition of GPS monitoring is hardly an unusual
 condition, particularly in circumstances where, as here, the charged conduct reflects significant
 ties between the defendant and foreign government officials. Rather, defendants in the Eastern
 District of New York charged with acting as unregistered agents of a foreign government have
 routinely been released subject to the imposition of GPS monitoring. See, e.g., United States v.
 Hu, et al., No. 21 CR 265 (PKC) (E.D.N.Y.), Dkt. Nos. 14, 32, 93 (releasing three defendants
 charged with violations of 18 U.S.C. § 951 subject to GPS monitoring); United States v.
 Angwang, 20 CR 442 (ERK) (E.D.N.Y.), Dkt. No. 48 (releasing a defendant charged with
 violating 18 U.S.C. § 951 subject to GPS monitoring).

                 Finally, it should be noted that the burden on the defendant from GPS monitoring
 is not significant. Although defense counsel argues that the electronic monitoring device is
 embarrassing, uncomfortable, and inhibits Grimes’s activities, such as surfing, these impositions
 are not unreasonable in light of the significant risk factors outlined above that require mitigation.


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 III.   Conclusion

                For the reasons set forth above, the government respectfully requests that the
 Court deny any motion by Grimes to remove the condition requiring GPS monitoring from the
 conditions of his release.



                                                    Respectfully submitted,

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                                                    United States Attorney

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